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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


                                                         Civil Action No. 3:14-CV-05358
  Channel Methods Partners, LLC,
  a New Jersey limited liability company
                                                         PHARMATECH, INC.’S
                             Plaintiff,                  NOTICE MOTION TO DISMISS OR
  v.                                                     IN THE ALTERNATIVE FOR A
                                                         MORE DEFINITE STATEMENT
  Pharmatech, Inc.,                                      AND TO TRANSFER VENUE
  a Colorado corporation
                                                         Returnable October 6, 2014
                             Defendant.

           To:      Sean G. Deverin
                    160 White Road, Suite 204
                    Little Silver, NJ 07739

           PLEASE TAKE NOTICE that on October 6, 2014, or as soon as counsel may thereafter

  be heard, the undersigned attorney for Defendant for Pharmatech, Inc. (“Pharmatech”) shall

  move before the United States District Court for the District of New Jersey, before the Honorable

  Freda L. Wolfson, U.S. District Judge, Clarkson S. Fisher Bldg. & U.S. Courthouse, 402 East

  State Street, Room 5E, Trenton, New Jersey 08608, for an Order Dismissing Complaint, or in the

  Alternative for a More Definite Statement and to Transfer Venue pursuant to F.R.C.P. 12(b)(2),

  F.R.C.P. 12(b)(6), F.R.C.P. 12(e), and 28 U.S.C. § 1404(a); and

           PLEASE TAKE FURTHER NOTICE, that in support of its Motion, Pharmatech relies

  on the accompanying Brief in Support of Motion to Dismiss Complaint, or in the Alternative for

  a More Definite Statement and to Transfer Venue; and




  {JK00239706.1 }
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           PLEASE TAKE FURTHER NOTICE, that a proposed form of Order granting the

  relief requested by Pharmatech is submitted herewith.


  Respectfully submitted September 2, 2014.

                                              /s Maritza Dominguez Braswell
                                              Maritza Dominguez Braswell
                                              NJ Attorney ID: 016222008
                                              Jones & Keller, P.C.
                                              1999 Broadway, Suite 3150
                                              Denver, CO 80202
                                              Telephone: (303) 573-1600
                                              Facsimile: (303) 573-8133
                                              mbraswell@joneskeller.com

                                              Attorney for Defendant Pharmatech, Inc.




  {JK00239706.1 }
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